     Case 5:18-cv-01603-EJD Document 42 Filed 08/28/18 Page 1 of 15
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 1                       UNITED STATES DISTRICT COURT

 2                      NORTHERN DISTRICT OF CALIFORNIA

 3                             SAN JOSE DIVISION

 4

 5     SECURITIES AND EXCHANGE              )   C-18-01603 EJD
       COMMISSION,                          )
 6                                          )   SAN JOSE, CALIFORNIA
                         PLAINTIFF,         )
 7                                          )   AUGUST 2, 2018
                  VS.                       )
 8                                          )   PAGES 1-14
       RAMESH "SUNNY" BALWANI,              )
 9                                          )
                         DEFENDANT.         )
10                                          )

11

12
                          TRANSCRIPT OF PROCEEDINGS
13                  BEFORE THE HONORABLE EDWARD J. DAVILA
                         UNITED STATES DISTRICT JUDGE
14

15    A P P E A R A N C E S:

16    FOR THE PLAINTIFF:         SECURITIES AND EXCHANGE COMMISSION
                                 BY: MARC D. KATZ
17                                    JESSICA W. CHAN
                                 44 MONTGOMERY STREET, SUITE 2800
18                               SAN FRANCISCO, CALIFORNIA 94104

19

20    FOR THE DEFENDANT:         DAVIS WRIGHT TREMAINE
                                 BY: JEFFREY B. COOPERSMITH
21                                    KELLY GORTON
                                 505 MONTGOMERY STREET, SUITE 800
22                               SAN FRANCISCO, CALIFORNIA 94111

23    OFFICIAL COURT REPORTER:         LEE-ANNE SHORTRIDGE, CSR, CRR
                                       CERTIFICATE NUMBER 9595
24

25             PROCEEDINGS RECORDED BY MECHANICAL STENOGRAPHY
                      TRANSCRIPT PRODUCED WITH COMPUTER


                         UNITED STATES COURT REPORTERS
     Case 5:18-cv-01603-EJD Document 42 Filed 08/28/18 Page 2 of 15
                                                                          2


 1    SAN JOSE, CALIFORNIA                            AUGUST 2, 2018

 2                            P R O C E E D I N G S

 3          (COURT CONVENED AT 9:56 A.M.)

 4              THE COURT:    ALL RIGHT.   LET'S TURN OUR ATTENTION NOW

 5    TO 18-1603, S.E.C. VERSUS BALWANI.

 6              MR. KATZ:    GOOD MORNING, YOUR HONOR.

 7         MARC KATZ FOR THE S.E.C.

 8              THE COURT:    THANK YOU.   GOOD MORNING.

 9              MS. CHAN:    GOOD MORNING.

10         JESSICA CHAN ALSO FOR THE S.E.C.

11              THE COURT:    THANK YOU.   GOOD MORNING.

12              MR. COOPERSMITH:    GOOD MORNING, YOUR HONOR.

13         JEFF COOPERSMITH FOR MR. BALWANI.

14              MS. GORTON:    AND KELLY GORTON FOR MR. BALWANI.

15              THE COURT:    THANK YOU.   GOOD MORNING.

16              MS. GORTON:    GOOD MORNING.

17              THE COURT:    THANK YOU FOR YOUR STATEMENT.     I

18    APPRECIATE THAT.   IT'S VERY INFORMATIVE.

19         I THINK YOU SUGGESTED A SCHEDULE IN YOUR CMC STATEMENT

20   THAT YOU'D LIKE THE COURT TO ADOPT.

21              MR. COOPERSMITH:    YES, YOUR HONOR.

22              MR. KATZ:    WE HAVE, YOUR HONOR.

23              THE COURT:    RIGHT, THANK YOU FOR THAT.

24         IT SOUNDS LIKE THERE ARE TWO ISSUES THAT YOU'D LIKE SOME

25    DISCUSSION ON.   THESE ARE REGARDING DISCOVERY MATTERS.



                         UNITED STATES COURT REPORTERS
     Case 5:18-cv-01603-EJD Document 42 Filed 08/28/18 Page 3 of 15
                                                                           3


 1           AND LET'S TALK ABOUT THOSE.   I GUESS I SHOULD TURN TO

 2    MR. COOPERSMITH AND MS. GORTON TO TELL ME WHY YOU THINK THERE

 3    SHOULD BE SOME ADJUSTMENT TO THE LOCAL RULES, OR THE NORMAL

 4    INTERROGS AND DEPOSITIONS.

 5               MR. COOPERSMITH:   YES, YOUR HONOR, I'M HAPPY TO.

 6           SO THE ISSUE THE COURT'S REFERRING TO IS THE NUMBER OF

 7   DEPOSITIONS, I BELIEVE.    THE S.E.C.'S POSITION, AS I UNDERSTAND

 8   IT, IS THAT THERE SHOULD BE THE NORMAL TEN DEPOSITIONS,

 9   ALTHOUGH THEY ARE WILLING TO SAY THAT WE WOULD COUNT A FOUR

10   HOUR OR LESS DEPOSITION AS A HALF DAY DEPOSITION.

11               THE COURT:   I THINK THAT'S A GOOD IDEA.   I APPRECIATE

12    YOUR AGREEMENT ON THAT.    I DON'T HAVE ANY PROBLEM WITH THAT.

13               MR. COOPERSMITH:   YES, YOUR HONOR, AND WE HAVE NO

14    PROBLEM WITH THAT, EITHER.    I THINK THAT'S A GOOD SUGGESTION.

15           IN TERMS OF THE ACTUAL NUMBER, THOUGH, THE S.E.C., AS YOU

16   CAN SEE FROM THE CMC STATEMENT, INVESTIGATED THIS CASE FOR TWO

17   AND A HALF YEARS.    THERE ARE 120 INDIVIDUALS AND ENTITIES

18   IDENTIFIED ON THEIR 26(A) DISCLOSURES.     THERE'S -- THEY

19   COLLECTED DOCUMENTS FROM OVER 80 PEOPLE.

20           THIS CASE INVOLVES MILLIONS OF PAGES OF DOCUMENTS.       IT'S A

21   VERY LARGE CASE.    THE S.E.C., IN THEIR COMPLAINT, ALLEGES THAT

22   THERE WAS SOMETHING LIKE $700 MILLION OF MONEY RAISED IN THE

23   CASE.

24           GIVEN THE AMOUNT OF TIME IT TOOK THE S.E.C. TO

25   INVESTIGATE -- AND WE DON'T HAVE ANY ABILITY BEYOND A VERY FEW



                         UNITED STATES COURT REPORTERS
     Case 5:18-cv-01603-EJD Document 42 Filed 08/28/18 Page 4 of 15
                                                                           4


 1   TRANSCRIPTS THAT THEY TOOK, AND IN SOME CASES, YOUR HONOR, THAT

 2   I'VE DEFENDED WITH THE S.E.C., THEY TAKE A LOT OF TESTIMONY,

 3   AND THAT'S THEIR PREROGATIVE.     THEY CAN DO THAT OR NOT AS THEY

 4   WISH.

 5           BUT WHEN THEY ONLY TOOK, YOU KNOW, 12 WITNESSES, WE HAVE

 6   THOSE TRANSCRIPTS.    OF COURSE, WE DIDN'T GET TO ASK THE

 7   QUESTIONS WE WANTED TO ASK.

 8           BUT THERE'S SCORES AND SCORES OF OTHER PEOPLE THAT WE

 9   BELIEVE THEY SPOKE TO.    WE CAN'T GET FROM THEM THOSE WITNESS

10   STATEMENTS.    THEY'RE GOING TO SAY THAT'S WORK PRODUCT.      WE'RE

11   NOT ABLE TO EVEN KNOW WHO THEY TALKED TO.

12           WE'RE GOING TO HAVE TO DO A LOT OF WORK ON FIGURING OUT

13   WHAT THIS CASE IS AND WHAT THE S.E.C. IS GOING TO USE TO

14   SUPPORT THEIR CASE.

15           SO, YOU KNOW, I KNOW THAT IT'S A LARGE NUMBER COMPARED TO

16   TYPICAL CASES THAT YOUR HONOR --

17               THE COURT:   IS THE NUMBER 80?

18               MR. COOPERSMITH:   THAT'S THE NUMBER THAT WE BELIEVE

19    IS A GOOD NUMBER.    AND, YOU KNOW, IF WE CAN -- WE'RE NOT GOING

20    TO TAKE UNNECESSARY DEPOSITIONS, YOUR HONOR.        IF WE DON'T NEED

21    ALL OF THOSE, THEN SO BE IT.

22               THE COURT:   THAT'S 40 APIECE.

23               MR. COOPERSMITH:   WELL, WE MIGHT EVEN HAVE OTHER

24    LAWYERS WHO MIGHT TAKE SOME OF THOSE TOO, YOUR HONOR, SOME

25    OTHERS.



                          UNITED STATES COURT REPORTERS
     Case 5:18-cv-01603-EJD Document 42 Filed 08/28/18 Page 5 of 15
                                                                            5


 1         BUT JUST IN TERMS OF ONE THING -- AND I WANT TO ILLUSTRATE

 2    SOMETHING.    THE S.E.C. DID SOME MATH AND THEY SAID, "OH, IF

 3    THEY GET 80 PER SIDE, THAT'S 160; AND IF YOU GET LESS THAN FOUR

 4    HOUR DEPOSITIONS, THAT'S 320."

 5         THAT'S JUST NOT GOING TO HAPPEN.      I MEAN, REALISTICALLY,

 6    WE'VE BEEN VERY SUCCESSFUL -- AND I HAVE NO PROBLEM WITH

 7    MR. KATZ, YOU KNOW, PERSONALLY WORKING THESE THINGS OUT -- THAT

 8    IF YOU HAVE A WITNESS WHO'S GOING TO BE IN A SEVEN HOUR

 9    DEPOSITION, YOU KNOW, IF WE NOTICE A DEPOSITION, I'M SURE

10    MR. KATZ AND HIS TEAM WILL WANT TO QUESTION THAT WITNESS.

11    WE'RE ALWAYS VERY SUCCESSFUL IN WORKING OUT A FAIR ALLOCATION

12    OF TIME.

13         A LOT OF THESE WITNESSES ON THEIR 26(A) DISCLOSURES AND

14    WHAT WE'VE DISCLOSED SO FAR, THEY OVERLAP.         SO THE IDEA THAT

15    THERE'S GOING TO BE THAT MANY DEPOSITIONS I THINK IS

16    OUTLANDISH.

17         I THINK 80 IS A FAIR NUMBER IN A CASE THIS LARGE GIVEN

18   WHAT'S ALREADY OCCURRED, AND THAT'S OUR REQUEST.

19               THE COURT:   OKAY.

20         WHAT ABOUT -- I THINK YOU HAVE ANOTHER REQUEST TO EXTEND

21   INTERROGATORIES AS WELL.

22               MR. COOPERSMITH:     YES, YOUR HONOR.

23         YOU KNOW, WE WANT DOUBLE THE USUAL NUMBER FOR THE SAME

24    REASONS I JUST MENTIONED, SO WE'RE ASKING FOR 50.

25         I THINK THERE'S GOING TO BE, I PREDICT, SOME BATTLES ABOUT



                         UNITED STATES COURT REPORTERS
     Case 5:18-cv-01603-EJD Document 42 Filed 08/28/18 Page 6 of 15
                                                                          6


 1   INTERROGATORIES.    YOU KNOW, WE SERVED OUR FIRST SET, WE GOT A

 2   LOT OF OBJECTIONS.      WE'RE NOT GOING TO ARGUE THAT HERE TODAY.

 3         BUT WE'RE GOING TO HAVE TO WORK WITH MR. KATZ AND HIS TEAM

 4   TO FIGURE OUT HOW WE RESOLVE THAT, AND WE'RE HOPING NOT TO HAVE

 5   TO INVOLVE THE COURT, OR INVOLVE THE COURT AS LITTLE AS

 6   POSSIBLE.

 7         BUT I JUST THINK, GIVEN THE COMPLEXITY OF THE CASE AND

 8   KIND OF THE ENTRENCHED POSITIONS OF THE PARTIES, I THINK HAVING

 9   50 INTERROGATORIES IS GOING TO BE THE RIGHT NUMBER.

10               THE COURT:    OKAY.   THANK YOU.

11         MR. KATZ AND MS. CHAN, DO YOU CONCEDE THE POINT?

12               MR. KATZ:    THANK YOU, YOUR HONOR.

13         WE HAVE A SLIGHTLY DIFFERENT TAKE, ALTHOUGH I DO AGREE,

14    AND AN IMPORTANT POINT IS WE HAVE A VERY GOOD AND EASY WORKING

15    RELATIONSHIP, AND I THINK THAT'S IMPORTANT IN THINKING THIS

16    THROUGH.

17         OUR VIEW IS SLIGHTLY DIFFERENT, AND THAT IS, LET'S TAKE IT

18   A STEP AT A TIME.    IF WE GET CLOSE TO THE TEN, THEN LET'S TALK

19   ABOUT IT.   WHO DO YOU NEED?      WHAT DO YOU NEED?   WHY?   AND

20   HOPEFULLY WE CAN STIPULATE.       OR THE 20 IF THEY'RE HALF DAYS.

21         THAT'S OUR GENERAL APPROACH TO THIS.        WE DON'T NEED TO GET

22   SOME ASTRONOMICAL NUMBER NOW.

23         AND I THINK THE REQUEST FOR 80, I'D LIKE TO PUT IT IN A

24   LITTLE BIT OF CONTEXT.     MR. BALWANI IS NOT YOUR TYPICAL

25   LITIGANT WHO COMES BEFORE THE COURT.      HE AND HIS COUNSEL HERE



                          UNITED STATES COURT REPORTERS
     Case 5:18-cv-01603-EJD Document 42 Filed 08/28/18 Page 7 of 15
                                                                         7


 1   HAVE BEEN INVOLVED IN THREE LAWSUITS -- I THINK AT LEAST

 2   THREE -- IN THE LAST -- I THINK ALL THREE WERE FILED FALL OF

 3   2016.    SO THEY'VE BEEN LITIGATING ISSUES RELATED TO THIS AND

 4   THE QUESTION OF FAIRNESS AND THE REPRESENTATIONS MADE SINCE

 5   2016.

 6           AND I THINK IN THOSE CASES COMBINED -- MR. COOPERSMITH

 7   WOULD KNOW BETTER THAN I BECAUSE WE HAVEN'T BEEN INVOLVED -- I

 8   THINK THERE'S AN AGGREGATE OF MORE THAN 50 DEPOSITIONS, AT

 9   LEAST A COUPLE OF DOZEN.    SO THERE HAVE ALREADY BEEN 50

10   DEPOSITIONS, MAYBE MORE.

11           SO I THINK THAT'S IMPORTANT FOR THE COURT TO KNOW THAT

12   THEY HAVE BEEN LITIGATING WITH THIS COUNSEL FOR A COUPLE YEARS

13   ON THESE RELATED ISSUES.

14           THE SECOND POINT IS IN TERMS OF WONDERING WHAT'S THE CASE

15   ABOUT, IN ESSENCE IT'S ABOUT MR. BALWANI, WHAT HE SAID, WHAT HE

16   DID, AND MR. BALWANI'S IN THE BEST PLACE TO KNOW THAT.

17           SO PUTTING THOSE TWO TOGETHER, WE THINK THAT THIS NUMBER

18   AND REQUEST IS REALLY EXTREME.    AGAIN, TAKE IT BIT BY BIT, AND

19   AS A LITTLE BIT -- IT'S ANECDOTAL, IT'S NOT A SCIENTIFIC

20   STUDY -- BUT WE WENT OUT AND SENT E-MAILS TO OUR REGIONAL TRIAL

21   COUNSEL THROUGHOUT THE S.E.C. AND SAID, "OUR COUNSEL -- OUR

22   COLLEAGUES ARE ASKING FOR 80.    HAS ANYONE DONE THIS?   HAVE YOU

23   HEARD ANYWHERE CLOSE TO THAT?"

24           WE GOT BACK A HODGEPODGE OF RESPONSES, BUT THE GENERAL

25   RESPONSE WAS NOWHERE NEAR 80, AND IN A CASE THAT WAS MUCH MORE



                         UNITED STATES COURT REPORTERS
     Case 5:18-cv-01603-EJD Document 42 Filed 08/28/18 Page 8 of 15
                                                                       8


 1   COMPLEX, FINANCIAL CRIMES AND THIS, 15 WAS WHAT THEY WERE

 2   OFFERING.

 3         SO JUST AS SOME, AGAIN, NOT A SCIENTIFIC SAMPLE, BUT WHERE

 4   WE'RE COMING FROM.

 5               THE COURT:   I APPRECIATE THAT, AND I THINK WHAT --

 6    THAT REFERENCES THE FACT THAT THE SIZE AND COMPLEXITY OF THIS

 7    CASE, AT LEAST HERE -- THIS IS THE FIRST TIME WE'VE MET --

 8    SUGGESTS THAT PERHAPS TEN MIGHT, MIGHT BE A LITTLE LOW.

 9               MR. KATZ:    IT COULD WELL BE, AND WE THINK WE CAN TAKE

10    IT A BITE AT A TIME.

11               THE COURT:   ALL RIGHT.   AND SIMILARLY WITH THE

12    INTERROGATORIES.    IF WE'RE GOING TO ADJUST ONE, IT SEEMS TO

13    MAKES SENSE TO ADJUST THE OTHER NUMBER AS WELL.

14               MR. KATZ:    WE WOULD SAY LET'S GET THE FULL 25 AND SEE

15    WHAT THEY WOULD LIKE TO HEAR FIRST AND TAKE IT IN BITES AND SEE

16    INSTEAD OF GOING OUT OF THE GATE WITH A LARGE NUMBER.

17               THE COURT:   WELL, I APPRECIATE THAT.

18         THERE'S ALSO SOME ECONOMY OF SCALE, SHALL WE SAY, TO -- IF

19    THE COURT LOOKS AT THIS AND RECOGNIZES THAT MAYBE THERE SHOULD

20    BE A MODIFICATION, UPWARD MODIFICATION OF SOMETHING, IT SHOULD

21    BE A NUMBER THAT -- AND A QUANTITY THAT ALLOWS PARTIES TO AT

22    LEAST PLAN AHEAD, TO STRATEGIZE STRATEGICALLY WHAT THEY'RE

23    GOING TO DO SO THEY'RE NOT COMING BACK EVERY OTHER WEEK -- I

24    LOVE SEEING YOU IN COURT.

25               MR. COOPERSMITH:   THANK YOU, YOUR HONOR.



                          UNITED STATES COURT REPORTERS
     Case 5:18-cv-01603-EJD Document 42 Filed 08/28/18 Page 9 of 15
                                                                        9


 1              MR. KATZ:    RIGHT, YOUR HONOR.

 2              THE COURT:    I LOVE LAWYERS.   I'M HAPPY TO HAVE

 3    LAWYERS IN COURT.

 4         BUT I DON'T WANT TO WASTE YOUR TIME UNNECESSARILY COMING

 5    BACK AND ASKING FOR WELL, YOU KNOW, ONE MORE, TWO MORE, THREE

 6    MORE.   IT'S REALLY QUESTIONABLE HOW MUCH AT LEAST INITIALLY IS

 7    TOO MUCH, RECOGNIZING THAT THERE SHOULD BE A LIMITATION.

 8         I THINK 80 IS EXCESSIVE.     I'LL JUST SAY THAT.

 9              MR. COOPERSMITH:    YOUR HONOR, I CAN UNDERSTAND THAT

10    PERSPECTIVE BECAUSE, AS I SAID, THAT'S A LARGE NUMBER COMPARED

11    TO MOST CASES THAT COME BEFORE THE COURT.

12         THE REASON, THOUGH -- JUST TO MAKE ONE MORE POINT BEFORE

13   YOU DECIDE WHAT TO DO HERE -- THAT A LOT OF THESE ENTITIES --

14   YOU KNOW, MR. KATZ SAYS, "WELL, THIS IS A SIMPLE CASE,

15   MR. BALWANI KNOWS WHAT HE DID OR DIDN'T DO."

16         YOU KNOW, THERE'S NOT A LOT OF SORT OF WRITTEN

17   REPRESENTATIONS, YOU KNOW, WHERE YOU HAVE LIKE A TYPICAL S.E.C.

18   CASE WHERE YOU HAVE LIKE A 10-K STATEMENT AND THEY'RE ALLEGING

19   SOMETHING IS FALSE IN THERE.

20         HERE THERE'S A LOT OF ORAL STATEMENTS.

21         AND THEN WHEN YOU LOOK AT THESE PARTIES WHO ARE INVESTORS,

22   A LOT OF THEM ARE ENTITIES, THEY'RE HEDGE FUNDS, THINGS LIKE

23   THAT, AND THEY HAVE SCORES OF PEOPLE WHO ARE, YOU KNOW,

24   ANALYZING THE INVESTMENT AND, YOU KNOW, MEETINGS OCCUR WITH,

25   LIKE, MULTIPLE PEOPLE AND SOMETIMES PEOPLE CHANGE OVER TIME.



                          UNITED STATES COURT REPORTERS
     Case 5:18-cv-01603-EJD Document 42 Filed 08/28/18 Page 10 of 15
                                                                          10


 1          SO WHAT PEOPLE REALLY THINK THEY HEARD AND WHAT WE SAY

 2    MR. BALWANI SAID AND WHAT THE S.E.C. CLAIMS HE SAID, THIS IS

 3    ALL GOING TO BE, IN MY VIEW, A MATTER OF DISPUTE.

 4          AND THESE ENTITIES AREN'T, LIKE, THESE ARE MOM AND POP

 5    INVESTORS.    THESE ARE LARGE, SOPHISTICATED INVESTORS WHO HAVE

 6    LAYERS OF DECISION MAKERS, AND THAT'S ONE REASONS FOR THE BIG

 7    NUMBER.

 8                 THE COURT:   SURE, OKAY.

 9          WELL, WE ALSO DRAW UPON SCIENCE AND NATURE WHEN WE

10     RECOGNIZE THAT NATURE ABHORS A VACUUM.      AND, YOU KNOW, PERHAPS

11     YOU NEED 80.    BUT IF I GIVE YOU 80 TODAY, I'M QUITE CONFIDENT

12     YOU'LL FILL THOSE 80.     YOU'LL FILL THAT VACUUM WITH NECESSARY

13     WORK.    AND I'M NOT SUGGESTING THAT THAT WOULD BE HAPHAZARD OR

14     WITHOUT SCALPEL PRECISION AS YOU DO YOUR PRACTICE.

15          I DO THINK IT'S APPROPRIATE TO MAKE SOME, SOME ADJUSTMENT

16    AT THIS POINT, AND I WILL.     THANK YOU FOR YOUR COMMENTS.

17    THANKS FOR YOUR STATEMENT.     I DO THINK THAT, AT LEAST

18    INITIALLY, THE COURT SHOULD MAKE SOME ADJUSTMENT, AND I WILL.

19    I WILL MAKE SOME ADJUSTMENT.     I THINK 80 IS HIGH FOR

20    DEPOSITIONS.

21          BUT I DO THINK 25 TO START WITH, 25 WILL GIVE YOU AN

22    OPPORTUNITY AT LEAST TO LOOK AT YOUR CASE, SEE WHAT YOU CAN

23    ACCOMPLISH WITH 25.

24          AND TO MR. KATZ AND MS. CHAN'S POINT, YOU KNOW, THE DOORS

25    ARE ALWAYS OPEN TO THE COURT TO COME BACK AND LET ME KNOW IF



                           UNITED STATES COURT REPORTERS
     Case 5:18-cv-01603-EJD Document 42 Filed 08/28/18 Page 11 of 15
                                                                          11


 1    YOU NEED FURTHER ADJUSTMENT ON THAT AND WHY.

 2          SAME THING WITH THE INTERROGATORIES.       I DO THINK THOSE

 3    SHOULD BE ADJUSTED, AND I THINK 35 WOULD BE A GOOD NUMBER TO

 4    PRESENT THERE, SO WE'LL ALLOW 35 AT THIS JUNCTURE.

 5          AND I THINK THAT -- MY SENSE IS THAT WILL GET YOU WELL

 6    STARTED ON WHAT YOU NEED TO DO, AND YOU CAN MAKE SOME STRATEGIC

 7    DECISIONS WITH THAT, AND THEN, AS I SAY, I'M ALWAYS HAPPY TO

 8    SEE LAWYERS BACK IN THE COURT, AND IF YOU NEED TO MAKE REQUESTS

 9    FOR OTHER ADJUSTMENT, FEEL FREE TO DO THAT.

10               MR. COOPERSMITH:    YES, YOUR HONOR.

11               MR. KATZ:    THANK YOU, YOUR HONOR.

12               THE COURT:    LET ME ALSO SAY, I WILL -- I'VE LOOKED AT

13     THE SCHEDULING THAT YOU HAVE PROPOSED AND I THINK IT IS

14     APPROPRIATE AND I'LL ADOPT THIS SCHEDULE, AND I'LL ISSUE AN

15     ORDER.   WE'LL GET AN ORDER OUT BY THE END OF THIS WEEK THAT HAS

16     A FORMAL ADOPTION OF A SCHEDULE.

17          ONE THING THAT I DID WANT TO SUGGEST AND ASK YOU ABOUT IS

18    IT SEEMS THAT IT MIGHT BE PRUDENT TO HAVE THIS CASE, OUR CASE,

19    BE IN SOMEWHAT INTIMACY WITH THE CRIMINAL CASE, AND THE NEXT

20    DATE FOR THE CRIMINAL CASE IS OCTOBER 1 AT 1:30 FOR FURTHER

21    STATUS ON THIS.

22          AND MY THOUGHT IS I WOULD SET OUR CASE, THIS CASE,

23    SOMEWHERE NEAR IN TIME, OR PERHAPS THE SAME DAY, FOR STATUS TO

24    KEEP THEM TOGETHER.     I JUST HAVE THIS SUSPICION THAT THERE

25    MIGHT BE SOME OVERLAPPING ISSUES INVOLVING THOSE TWO CASES, AND



                         UNITED STATES COURT REPORTERS
     Case 5:18-cv-01603-EJD Document 42 Filed 08/28/18 Page 12 of 15
                                                                          12


 1    SO I JUST WANTED TO GET YOUR THOUGHTS ON THAT.

 2                MR. KATZ:    THAT SEEMS TO MAKE SENSE FOR JUDICIAL

 3     ECONOMY.   WOULD THE COURT WANT A STATUS CONFERENCE STATEMENT A

 4     WEEK BEFORE AS IS TYPICAL?

 5                THE COURT:   THAT'S RIGHT.   I WOULDN'T DISTURB THAT.

 6          WHAT ARE YOUR THOUGHTS ON THAT, MR. COOPERSMITH?

 7                MR. COOPERSMITH:   YOUR HONOR, I'M -- YOU KNOW, FOR

 8     EFFICIENCY PURPOSES, YOU KNOW, COMING TO COURT, YOU KNOW, FOR

 9     ONE DAY RATHER THAN MULTIPLE DAYS IS NOT A PROBLEM AND I

10     UNDERSTAND THAT.

11          I DO WANT TO POINT OUT, THE CASES ARE DIFFERENT IN

12    RESPECTS.   THERE'S -- IN THE CRIMINAL CASE, THERE'S ALLEGATIONS

13    ABOUT SOME VERY TECHNICAL LABORATORY ISSUES THAT DON'T EXIST --

14    ALTHOUGH THEY ARE UNDERLYING THE ALLEGATIONS, THEY'RE NOT

15    DIRECTLY ALLEGED.

16          SO THERE ARE DIFFERENCES, YOUR HONOR, AND, YOU KNOW, OUR

17    VIEW IS THAT THE GOVERNMENT BROUGHT TWO CASES AND WE'RE

18    DEFENDING TWO CASES.

19          SO I UNDERSTAND THERE'S ALWAYS GOING TO BE FACTUAL OVERLAP

20    HERE, BUT THEY ARE DISTINCT AND WE DON'T WANT TO MELD THEM TOO

21    MUCH, IF THAT'S THE RIGHT WORD.

22                THE COURT:   RIGHT, AND I APPRECIATE THAT.

23          MY THOUGHT WAS THERE MIGHT BE SOME ECONOMIES GAINED IF

24     THEY'RE, IF NOT ON THE SAME DAY, PERHAPS THE SAME WEEK OR

25     SOMEHOW CONNECTED TOGETHER FOR TIMING.



                          UNITED STATES COURT REPORTERS
     Case 5:18-cv-01603-EJD Document 42 Filed 08/28/18 Page 13 of 15
                                                                       13


 1          MY SENSE IS THERE'S GOING TO BE SOME DISCOVERY ISSUES THAT

 2    OVERLAP, AND SOMETIMES WE HAVE CASES IN THESE SITUATIONS WHERE

 3    I'M TOLD, "WELL, I NEED TO CHECK WITH CIVIL COUNSEL AND I NEED

 4    THREE WEEKS TO DO THAT."

 5               MR. COOPERSMITH:    YES, YOUR HONOR, I THINK THAT MAKES

 6     SENSE TO ME.

 7               THE COURT:   THOSE TYPES OF THINGS.

 8          SO LET ME ASK YOUR THOUGHTS ON THAT.    THE CRIMINAL

 9    CALENDAR IS HELD -- I HOLD MY CRIMINAL CALENDARS MONDAY

10    AFTERNOONS AND THE CIVIL CALENDARS ON THURSDAYS.

11          NOW, I COULD CHECK WITH GOVERNMENT COUNSEL IN THE CRIMINAL

12    MATTER TO SEE IF THEY WOULD BE WILLING TO APPEAR AT A SPECIAL

13    SET ON OUR THURSDAY CIVIL CALENDAR IN THEIR CASE, AND THAT'S

14    ANOTHER POSSIBILITY AS WELL.

15          FOR TODAY, I'M NOT GOING TO DISTURB THE DATE FOR THE

16    CRIMINAL MATTER.   THE GOVERNMENT'S NOT PRESENT HERE TO CHIME IN

17    ON THAT.

18          BUT THE NEXT STATUS IS OCTOBER 1 FOR THAT CASE, AND MAYBE

19    I SHOULD SET A STATUS DATE FOR US EITHER THE 27TH OF SEPTEMBER

20    OR THE 4TH OF OCTOBER JUST TO GAIN SOME INTIMACY WITH THE NEXT

21    COURT DATE.

22          DO YOU HAVE ANY THOUGHTS ON THAT?

23               MS. CHAN:    MY -- THE S.E.C. IS HAPPY TO COME WHENEVER

24     IT'S BEST FOR THE COURT, AND I WOULD SAY, BASED ON WHAT YOUR

25     HONOR SAID, MAYBE THE 4TH OF OCTOBER MAKES A LITTLE BIT MORE



                         UNITED STATES COURT REPORTERS
     Case 5:18-cv-01603-EJD Document 42 Filed 08/28/18 Page 14 of 15
                                                                         14


 1     SENSE BECAUSE THEN YOU WILL HAVE HAD THE PROCEEDING AND IF YOU

 2     WANT TO THEN LINK THEM UP IN TIME, THAT MAY MAKE MORE SENSE.

 3                MR. COOPERSMITH:      I AGREE WITH THAT, YOUR HONOR.

 4                THE COURT:    OKAY.    SHOULD WE SET THEN OCTOBER 4,

 5     OCTOBER 4 AT 10:00 A.M. FOR OUR NEXT CMC IN THIS CASE?

 6                MR. COOPERSMITH:      YES, YOUR HONOR.

 7                THE COURT:    ALL RIGHT.    LET'S DO THAT.

 8                MR. KATZ:    THANK YOU, YOUR HONOR.

 9                THE COURT:    GREAT.

10                MS. GORTON:    YOUR HONOR, ONE ISSUE I WANT TO POINT

11     OUT.    THERE'S A SMALL TYPOGRAPHICAL ERROR IN THE REBUTTAL

12     EXPERT REPORT DATE.      IT SAYS 2018 AND IT NEEDS TO SAY 2019.

13                THE COURT:    ALL RIGHT.    THANK YOU.

14                MS. GORTON:    THANK YOU.

15                THE COURT:    THANK YOU FOR THAT.

16                MS. GORTON:    THANK YOU.

17                THE COURT:    YOU'RE WELCOME.

18            ALL RIGHT.   ANYTHING FURTHER?

19                MR. COOPERSMITH:      THANK YOU, YOUR HONOR.

20                MR. KATZ:    THANK YOU, YOUR HONOR.      THANK YOU.

21                THE COURT:    ALL RIGHT.    THANK YOU.

22                THE CLERK:    COURT IS ADJOURNED.

23            (THE PROCEEDINGS WERE CONCLUDED AT 10:12 A.M.)

24

25



                           UNITED STATES COURT REPORTERS
     Case 5:18-cv-01603-EJD Document 42 Filed 08/28/18 Page 15 of 15


 1

 2

 3                          CERTIFICATE OF REPORTER

 4

 5

 6

 7          I, THE UNDERSIGNED OFFICIAL COURT REPORTER OF THE UNITED

 8     STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA,

 9     280 SOUTH FIRST STREET, SAN JOSE, CALIFORNIA, DO HEREBY

10     CERTIFY:

11          THAT THE FOREGOING TRANSCRIPT, CERTIFICATE INCLUSIVE, IS

12     A CORRECT TRANSCRIPT FROM THE RECORD OF PROCEEDINGS IN THE

13     ABOVE-ENTITLED MATTER.

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                                LEE-ANNE SHORTRIDGE, CSR, CRR
17                              CERTIFICATE NUMBER 9595

18                              DATED:   AUGUST 28, 2018

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                         UNITED STATES COURT REPORTERS
